         Case 1:23-cv-00238-N/A Document 1              Filed 11/10/23     Page 1 of 3




UNITED STATES COURT OF INTERNATIONAL TRADE                                             FORM 3

                                                       )
GEO SPECIALTY CHEMICALS, INC.,                         )
                                                       )
                      Plaintiff,                       )
                                                       )    SUMMONS
             v.                                        )
                                                       )    Court No.     23-00238
UNITED STATES,                                         )
                                                       )
                      Defendant.                       )
                                                       )


 TO:    The Attorney General, the U.S. Department of Commerce:

        PLEASE TAKE NOTICE that a civil action has been commenced pursuant to
        28 U.S.C. § 1581(c) to contest the determination described below.

                                                     /s/ Mario Toscano
                                                     Clerk of the Court




       Name and Standing of Plaintiff

1.     Plaintiff is GEO Specialty Chemicals, Inc. ("GEO" or "Plaintiff"). GEO is a domestic
       producer of a domestic like product (i.e., glycine). As one of the original petitioners,
       GEO fully participated in the underlying U.S. Department of Commerce antidumping
       and countervailing duty investigations, as well as sequential administrative reviews (i.e.,
       Glycine from India {A-533-883/C-533-884}, Japan {A-588-878}, Thailand
       {A-549-837}, and the People’s Republic of China {C-570-081}). On August 14, 2023,
       GEO submitted to the U.S. Department of Commerce a scope ruling application on
       calcium glycinate. GEO is an interested party according to 19 U.S.C. §§ 1677(9)(C) and
       1516a(f)(3). GEO as Plaintiff has standing to bring this action under 19 U.S.C.
       §§ 1516a(a)(2)(A)(ii), (a)(2)(B)(vi) and (d) and 28 U.S.C. § 2631(c).

       Brief Description of Contested Determination

2.     Plaintiff is contesting a final negative scope ruling determination issued by
       the U.S. Department of Commerce, International Trade Administration (dated
       October 11, 2023), regarding calcium glycinate on the following orders: Glycine from
       India and Japan: Amended Final Affirmative Antidumping Duty Determination and
       Antidumping Duty Orders, 84 FR 29170 (June 21, 2019); Glycine from Thailand:
        Case 1:23-cv-00238-N/A Document 1             Filed 11/10/23    Page 2 of 3




      Antidumping Duty Order, 84 FR 55912 (October 18, 2019); and Glycine from India and
      the People’s Republic of China: Countervailing Duty Orders, 84 FR 29173 (June 21,
      2019) (collectively, Orders). This final negative determination is contested pursuant to
      19 U.S.C. §§ 1516a(a)(2)(A)(iii) and (a)(2)(B)(vi) and 28 U.S.C. § 1581(c).
      This Summons is being filed within 30 days after the date of mailing of the scope ruling
      and is thus timely pursuant to 19 U.S.C. § 1516a(a)(2)(A)(iii).

       Date of Determination

 3.    The final determination of the scope ruling request is dated October 11, 2023.

       Date of Publication in Federal Register of Notice of Contested Determination

 4.    Not applicable. The U.S. Department of Commerce did not publish a notice of
       contested scope ruling in the Federal Register. A notice of scope ruling
       application was published in the Federal Register on October 10, 2023
       (88 Fed. Reg. 69904).

                                            Respectfully submitted,


                                             / s / David M. Schwartz
                                             David M. Schwartz
                                             Michelle Li
                                             Kerem Bilge

                                             THOMPSON HINE LLP
                                             1919 M Street, NW, Suite 700
                                             Washington, DC 20036
                                             Telephone: (202) 263-4170
                                             Telefax: (202) 331-8330
                                             Email: David.Schwartz@ThompsonHine.com

                                             Counsel for GEO Specialty Chemicals, Inc.
Dated: November 10, 2023




                                     SEE REVERSE SIDE
          Case 1:23-cv-00238-N/A Document 1          Filed 11/10/23     Page 3 of 3




                        SERVICE OF SUMMONS BY THE CLERK


                        If this action, described in 28 U.S.C. § 1581(c), is
               commenced to contest a determination listed in section
               516A(a)(2) or (3) of the Tariff Act of 1930, the action is
               commenced by filing a summons only, and the clerk of the court
               is required to make service of the summons. For that purpose,
               list below the complete name and mailing address of each
               defendant to be served.

Attorney-in-Charge
International Trade Field Office
Commercial Litigation Branch
U.S. Department of Justice
26 Federal Plaza
Room 346
New York, New York 10278


Supervising Attorney
Civil Division - Commercial Litigation Branch
U.S. Department of Justice
Civil Division
1100 L Street, NW
Washington, DC 20530


Chief Counsel
Enforcement and Compliance
International Trade Administration
U.S. Department of Commerce
14th Street and Constitution Avenue, NW
Washington, DC 20230
